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                                                                            U.S. DIS~ Hit: f COURT
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DRAFT ONE
                          UNITED STATES DISTRICT COURT                   2122 SEP -9 M1 3: Oi
                                    FOR THE
                              DISTRICT OF VERMONT                                CLERK
UNITED STATES OF AMERICA,                    )
                                                                          BY      .      ~      <
                                                                               (EPUT'( CLR'
                                             )
     V.                                      )              Case No. 5:22-cr-35
                                             )
DANIEL RUIZ,                                 )
                                             )
     Defendant.                              )

                                     JURY VERDICT

    1. On Count One, the charge of Conspiracy to Distribute Controlled Substances, do you
       find the defendant:


                    NOT GUILTY


                    GUILTY


    Please answer question 2.

    2.    On Count Two, the charge of Possession with Intent to Distribute Controlled
          Substances, do you find the defendant:


                    NOT GUILTY


                    GUILTY




    Dated: October _ _ , 2022
                                                         JURY FOREPERSON
